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                                  UNITED STATES DISTRICT COURT
                                       DISTRICT OF MAINE

JEFFREY FORBES,                                        )
                                                       )
         Plaintiff,                                    )
                                                       )
v.                                                     )        Docket No. 2:21-cv-00103-GZS
                                                       )
CARLOS DEL TORO, SECRETARY                             )
OF THE NAVY,                                           )
                                                       )
         Defendant.                                    )


                     DEFENDANT CARLOS DEL TORO’S
             MOTION TO DISMISS PLAINTIFF’S COMPLAINT FOR
      FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED

         Defendant Carlos Del Toro, Secretary of the Navy, 1 hereby moves to dismiss the

Complaint brought by Plaintiff pursuant to Section 504 of the Rehabilitation Act, 29 U.S.C.

§ 701 et seq., and the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq., for failure to

state a claim upon which relief can be granted under Federal Rule of Civil Procedure 12(b)(6).

              I. RELEVANT FACTUAL AND PROCEDURAL BACKGROUND 2

         Plaintiff Jeffrey Forbes, a resident of Peabody, Massachusetts, “suffers from permanent

cognitive, vision, and speech impairments as a result of a brain tumor that was discovered in

2003.” Complaint (“Compl.”) ¶¶ 1, 3. In March 2015, Plaintiff applied for a police officer

position opening at the Portsmouth Naval Shipyard in Kittery, Maine. Id. ¶ 4. Despite

Plaintiff’s disabilities resulting from the aforementioned brain tumor, Plaintiff maintains that at


1
  Carlos Del Toro was sworn in as the Secretary of the U.S. Navy on August 9, 2021. Pursuant to Federal Rule of
Civil Procedure 25(d), Secretary Del Toro should be automatically substituted as the sole Defendant in this action in
his official capacity as Secretary of the U.S. Navy. See Fed. R. Civ. P. 25(d) (“An action does not abate when a
public officer who is a party in an official capacity dies, resigns, or otherwise ceases to hold office while the action
is pending. The officer’s successor is automatically substituted as a party. Later proceedings should be in the
substituted party’s name . . .”).
2
  The facts set forth herein are derived from Plaintiff’s July 10, 2020 Complaint and Jury Demand, ECF No. 1 (the
“Complaint”), and Plaintiff’s Exhibit A attached thereto, as well as the public docket associated with this matter.

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the time he applied for the police officer position, he “was able to meet the essential functions

and physical requirements of the” position. Id.

       Plaintiff received a “tentative offer of employment” on July 8, 2015. Id. ¶ 7. Plaintiff

understood that such tentative offer could be rescinded if he failed to meet the necessary “pre-

employment requirements” associated with the position. Id. ¶ 6.

       Approximately one month later, Plaintiff underwent the mandatory pre-employment

examination, which was conducted by Dale R. Harmon, CAPT, USN. Id. ¶ 8. In the

“Conclusions” section of the Certificate of Medical Examination, CAPT Harmon wrote that

Plaintiff had several “limiting conditions,” including that he was “unable to run, does not meet

vision requirements for police or MVO, poor rapid muscular coordination, [and] mild to

moderate speech disturbance.” Compl. Ex. A at 4. CAPT Harmon nevertheless recommended

that Plaintiff be “hire[d] or retain[ed],” but went on to note that Plaintiff “cannot pass the run

requirement, does not meet vision standards, [has] poor rapid fire muscle coordination, [is] not

qualified to operate a motor vehicle due to vision (MVO),” and that “[a]ll items would need to be

accommodated if hired.” Id. at 5.

       Plaintiff maintains that he did not hear back from Defendant for some time until he made

contact in October 2016, at which point he learned that his offer had been rescinded. Compl.

¶ 10. On November 15, 2016, Plaintiff was notified that his offer was rescinded because he

failed “to meet a condition of employment in not being successful with passing the pre-

employment physical.” Id. ¶ 12. Three days later, Plaintiff filed a complaint with the Equal

Employment Opportunity Commission for “unlawful discrimination.” Id. ¶ 13.

       Plaintiff ultimately filed a complaint in the United States District Court for the District of

Massachusetts on July 14, 2020. Defendant filed a Motion to Dismiss or Transfer for Lack of



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Venue in that court on March 8, 2021; Judge Nathaniel M. Gorton allowed the motion to transfer

on April 9, 2021; this matter was officially transferred to this Court on April 12, 2021.

                                         II. ARGUMENT

         Plaintiff’s Complaint should be dismissed for its failure to state a claim upon which

relief can be granted. Specifically, as a result of his allegations misstating the essential functions

of the position to which he applied, Plaintiff fails to properly allege that he is a qualified

individual with a disability, as required by the Rehabilitation Act and this Circuit’s precedent.

Accordingly, his Rehabilitation Act failure-to-accommodate claim should be dismissed.

        Plaintiff’s allegations regarding violations of the Americans with Disabilities Act should

be dismissed as well, as the ADA is not available to applicants for federal employment positions.

Additionally, to the extent that Plaintiff is attempting to allege retaliation in violation of the

Rehabilitation Act’s anti-retaliation protections, such claim should be dismissed, because

Plaintiff fails to properly allege the elements of a retaliation claim.

        A.      Legal Standard

        To survive a Rule 12(b)(6) motion to dismiss, a complaint “must contain sufficient

factual matter to state a claim to relief that is plausible on its face.” Rodriguez-Reyes v. Molina-

Rodriguez, 711 F.3d 49, 53 (1st Cir. 2013). Courts within the United States Court of Appeals for

the First Circuit employ a two-pronged approach in resolving motions to dismiss for failure to

state a claim. Ocasio-Hernandez v. Fortuno-Burset, 640 F.3d 1, 12 (1st Cir. 2011). First, the

Court must identify and disregard statements in the complaint that are mere legal conclusions

couched as factual allegations. Id. (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). Second,

the Court “must determine whether the remaining factual content allows a reasonable inference

that the defendant is liable for the misconduct alleged.” A.G. ex rel. Maddox v. Elsevier, Inc.,



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732 F.3d 77, 80 (1st Cir. 2013) (internal quotation marks and citation omitted); see also Carrero-

Ojeda v. Autoridad de Energia Electrica, 755 F.3d 711, 717 (1st Cir. 2014) (the Court’s ultimate

task is to determine whether, after taking all well-pleaded facts as true and “drawing all

reasonable inferences in [plaintiff’s] favor,” the complaint “plausibly narrate[s] a claim for

relief”).

        B.       Plaintiff’s Rehabilitation Act Failure-to-Accommodate Claim Should Be
                 Dismissed for Failure to State a Claim Upon Which Relief Can Be Granted

        In order to assert a claim for discrimination based on failure to accommodate under the

Rehabilitation Act, a plaintiff must establish

        (1) that she suffered from a “disability” within the meaning of the statute; (2) that
        she was a qualified individual in that she was able to perform the essential
        functions of her job, either with or without a reasonable accommodation; and (3)
        that, despite her employer's knowledge of her disability, the employer did not
        offer a reasonable accommodation for the disability.

Calero-Cerezo v. U.S. Dep’t of Justice, 355 F.3d 6, 20 (1st Cir. 2004). 3 Here, Plaintiff has failed

to properly allege that he “was able to perform the essential functions” of the police officer

position, and accordingly his complaint must be dismissed.

        In the First Circuit, an “essential function” is defined as “a fundamental job duty

associated with a particular position,” which may extend beyond an individual's skills or

experience, “even including such individual or idiosyncratic characteristics as scheduling


3
 In the “Introduction” section of Plaintiff’s Complaint, Plaintiff states that his request for relief is “for
discrimination based on his handicap and failure to provide a reasonable accommodation under the Rehabilitation
Act and the Americans with Disabilities Act.” Compl. at 1. However, in the section generally reserved for
articulation of the counts of the complaint, Plaintiff references only a failure to make reasonable accommodation and
“unlawful retaliate[ion].” For the purposes of this motion, Defendant assumes that Plaintiff’s allegation of
“discrimination” is really “discrimination based on failure to accommodate,” not a freestanding discrimination claim
apart from the reasonable accommodation claim. In any event, even if Plaintiff were to allege a discrimination
claim apart from his reasonable accommodation claim, such claim would require that Plaintiff allege that he was
able to perform the essential functions of his job. See Hines v. Boston Public Schools, 264 F. Supp. 3d 329, 334 (D.
Mass. 2017) (discussing elements of disability discrimination claims and reasonable accommodation claims). As
Defendant argues infra, Plaintiff has failed to properly allege that he could perform such essential functions of the
position at issue, and thus any disability discrimination claim—be it freestanding or based on a failure to
accommodate—must be dismissed.

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flexibility.” Calero-Cerezo, 355 F.3d at 22 (internal citations and quotation marks omitted). In

determining which functions are essential, “a court must give considerable deference to an

employer’s judgment regarding what functions are essential for service in a particular position.”

Shannon v. New York City Transit Authority, 332 F.3d 95, 100 (2d Cir. 2003). “[I]f an employer

has prepared a written description before advertising or interviewing applicants for the job, this

description shall be considered evidence of the essential functions of the job.” 42 U.S.C.

§ 12111(8).

        Because “the complex question of what constitutes an essential job function involves

fact-sensitive considerations [which] must be determined on a case-by-case basis,” Gillen v.

Fallon Ambulance Service, Inc., 283 F.3d 11, 25 (1st Cir. 2002), courts have sometimes found

that “the essential duties of [an employee’s] position are a question of fact” which are not

required to be “alleged with particularity” in a complaint in order to survive a Rule 12(b)(6)

motion to dismiss, Floyd v. Lee, 968 F. Supp. 2d 308, 327 (D.D.C. 2013). However, courts also

have made clear that regardless of this relatively modest pleading requirement, a complaint is

still subject to dismissal if the plaintiff fails to properly allege that he or she can perform the

essential functions of the subject position. See Kiniropoulos v. Northampton Cnty. Child Welfare

Serv., 606 F. App’x 639 (3d Cir. 2015) (upholding 12(b)(6) dismissal for failure to adequately

plead that the plaintiff could perform the essential functions of the position with or without an

accommodation).

        In paragraph four of Plaintiff’s Complaint, he maintained that

        [d]espite his disabilities, Mr. Forbes was able to meet the essential functions and
        physical requirements of the police officer position at the Naval Shipyard, which
        involved [1] sitting or standing [in] the guard house to check visitors, [2] driving
        or walking around to patrol the grounds, and [3] sitting at the front desk as
        dispatchers while monitoring security cameras.



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Compl. ¶ 4. Were this all Plaintiff had said about the essential functions of the police officer

position, such allegations may have been sufficient to satisfy, for the purposes of Rule 12(b)(6),

the requirement that he allege he was a qualified individual able to perform the essential

functions of that position. Although this statement of the essential functions of the police officer

position is wholly factually inaccurate, the pleading stage would not be the proper point for

Defendant to demonstrate that Plaintiff’s description is a gross misstatement of the essential

duties of a Portsmouth Naval Shipyard police officer.

         Plaintiff, however, went further than the brief description he provided in paragraph four

of his Complaint. Plaintiff attached an exhibit to his complaint which contained, inter alia, a

description of the position for Police Officer, GS-0083-3/4/5/6: 4

         3. Brief description of what the position requires the employee to do.

         The work requires extended period of physical exertion derived from such
         activities as running, walking, standing, climbing, bending, driving, and
         lifting/carrying heavy items. Requires physical stamina, agility and strength to
         defend themselves, defend others, pursue and apprehend or detain suspects. DoD
         and Department of Navy regulations require at a minimum a periodic physical
         agility test. Officers undergo sustainment training in defensive tactics to include
         Oleoresin Capsicum (OC) qualifications, handcuffing, Taser, and firearms
         qualifications which require physical strength, skill and stamina. Note:
         Qualification includes exposure to Oleoresin Capsicum spray as well as Taser
         when required for assigned duties as part of the training curriculum/qualification
         to carry.

         The work is performed in an environment which involves exposure to regular and
         recurring discomfort, such as variations in weather while performing patrols. The
         incumbent may be exposed to high levels of noise in certain industrial settings,
         destructive weather or higher FPCON. The work involves moderate and high
         risks and possible endangerment of life or serious injury that requires the exercise
         of safety precautions and use of personal protective equipment such as body
         armor, reflective vests, coats, gloves, helmet, boots, goggles, masks, shields, etc.

         The following are some of the duties of the position:

4
  Because the exhibit consists of a scan which may be difficult to read, page three of the exhibit, part three, is
reproduced in its entirety here, with the exception of the final paragraph of that part, which addresses a hearing
conservation program.

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         Incumbent possesses authority to apprehend personnel, carry a firearm, Taser and
         Oleoresin Capsicum (OC) spray. Must be proficient in use of authorized
         nonlethal weapons and able to subdue a suspect in accordance with “use of force
         continuum” guidance. Operates specialized weapons and special purpose
         equipment such as night observation devices (night vision) and portable
         sensor/intrusion detection equipment. Participates in training, exercises, and
         evaluations to increase proficiency and maintain learned skills and knowledge.

         Responds to intrusion detection system (IDS) alarms, emergency calls,
         complaints, and other calls for service while on duty. Performs a full range of
         force protection, anti-terrorism and sentry duties at installations or activities.
         Defends installation personnel, equipment, and resources from terrorist threats or
         hostile attacks.

         Acts as the Incident Commander (IC) for significant and catastrophic events as
         required. May direct other functional first responders, when appropriate, in
         accordance with the structure of the National Incident Management System.

         Operates motor vehicles having a gross vehicle weight of 7,000 pounds or less,
         loading capacities of 1 ton or less, manual transmissions, and 2 or 4 wheels drive.
         May be required to qualify on police bicycles and other rough terrain vehicles
         such as ATVs and snow mobiles.

         At installations conducting law enforcement/security operations in navigable
         waters, incumbent will be certified in all aspects of vessel safety, handling and
         related safety requirements in support of High Value Escort (HVU) procedures.
         Must qualify on the nautical rules of the road by U.S. Coast Guard standards if
         serving as a coxswain in harbor security boats.

         ....

Compl. Ex. A at 3. This job description, incorporated by Plaintiff into his Complaint, 5 and

created by the Navy, evidences Defendant’s view of the requirements of the police officer

position, and courts in this circuit “generally give substantial weight to the employer’s view of

job requirements in the absence of discriminatory animus.” Ward v. Massachusetts Health

Research Institute, Inc., 209 F.3d 29, 34 (1st Cir. 2000); see also id. (noting that EEOC


5
  Because Plaintiff attached this document to his Complaint and references it therein, see Compl. ¶ 8, the Court may
consider it when evaluating this Motion without converting the Motion into a motion for summary judgment. See
Smith v. United States, 561 F.3d 1090, 1098 (10th Cir. 2009) (“In evaluating a Rule 12(b)(6) motion to dismiss,
courts may consider not only the complaint itself, but also attached exhibits, and documents incorporated into the
complaint by reference.”).

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interpretive guidance “indicate additional fact-intensive considerations, including among

others[,] written job descriptions” (citing 29 C.F.R. § 1630.2(n)(3)).

         Defendant will not attempt to finely delineate here the precise contours of the essential

functions of the police officer position, as such an undertaking would involve the introduction of

material outside of Plaintiff’s Complaint and the documents he attached to it. However, it is

nevertheless clear from a comparison of the job description for the position to which Plaintiff

applied and Plaintiff’s own description of what he claims to view as the essential functions of

that position that the job description and Plaintiff’s description are describing two entirely

different positions with radically different essential functions. Plaintiff has described duties that

are more consistent with those of an unarmed suburban mall security guard—sitting in a guard

booth, patrolling the grounds, and monitoring security cameras. The position description

Plaintiff attached to his Complaint make it clear what this position actually is: a true armed law

enforcement and physical security role protecting a critical piece of United States Navy

infrastructure and the personnel and equipment located therein.

         Because Plaintiff has posited a description of the essential functions of the police officer

position that bears so little resemblance to the actual duties of that position as described in the

Navy’s position description, Plaintiff has not, in fact, alleged that he can perform the essential

functions of the police officer position. Rather, he merely has alleged that he can perform the

“essential functions” of a hypothetical position that does not exist. Accordingly, Plaintiff has

failed to allege that he is a “qualified individual” under the Rehabilitation Act, and his Complaint

should be dismissed. 6 See Kiniropoulos, 606 F. App’x at 642.


6
  Defendant recognizes that, were the Court to dismiss Plaintiff’s Complaint for failure to allege that he can perform
the essential functions of the police officer position, Plaintiff likely would be provided with an opportunity to amend
his Complaint to properly allege that he could perform those essential functions. However, based on Defendant’s
understanding of Plaintiff’s disabilities and the requirements of the police officer position, Defendant has serious

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         C.       Plaintiff’s Americans With Disabilities Act Claims Should Be Dismissed for
                  Failure to State a Claim Upon Which Relief Can Be Granted

         The ADA is not available to applicants for federal employment positions. See Calero-

Cerezo, 355 F.3d at 11 n.1; Roman-Basora v. Potter, Civil No. 08-1096 (DRD), 2011 WL

29262, at *3 (D.P.R. Jan. 31, 2011) (noting that “the ADA does not apply to alleged

discrimination on the basis of disability in federal employment” (internal quotation marks

omitted)); 42 U.S.C. § 12111(5)(b)(i) (noting that “[t]he term ‘employer’” in the ADA “does not

include—(i) the United States”). As Exhibit A to Plaintiff’s Complaint makes clear, the Police

Officer position is a “General Schedule” (GS) position administered by the United States Office

of Personnel Management, and therefore is a federal employment position. See Compl. Ex. A at

3; see also Hicks v. Johnson, 755 F.3d 738, 741 n.1 (1st Cir. 2014) (explaining General Schedule

classification and pay system, which “covers the majority of civilian white-collar Federal

employees (about 1.5 million worldwide) in professional, technical, administrative, and clerical

positions”). Accordingly, Plaintiff’s disability discrimination claims can be brought only

pursuant to the Rehabilitation Act, not the ADA. Enica v. Principi, 544 F.3d 328, 338 n.11 (1st

Cir. 2008) (“As a federal employee, Enica is covered under the Rehabilitation Act and not the

ADA.”). Plaintiff’s claims brought pursuant to the ADA should therefore be dismissed.

         D.       To the Extent Plaintiff Attempts to Allege a Violation of the Rehabilitation
                  Act’s Anti-Retaliation Provision, Plaintiff Has Failed to State a Claim Upon
                  Which Relief Can Be Granted

         Plaintiff references “retaliation” only once in his Complaint, in paragraph seventeen:

         17. When Mr. Forbes[’] disabilities came to light in his physical examination, the
         Naval Shipyard unlawfully retaliated against Mr. Forbes by rescinding his job
         offer despite receiving a recommendation for hire with reasonable
         accommodations after his physical examination on August 6, 2015. The Naval


doubts that Plaintiff will be able to allege that he can perform such functions in an amended complaint while
maintaining compliance with Federal Rule of Civil Procedure 11(b).

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       Shipyard did not contact him for months and officially rescinded their offer only
       after he contacted them regarding updates with [sic] his employment.

Compl. ¶ 17 (emphasis added). Because Plaintiff does not properly allege that he engaged in

“protected conduct,” to the extent Plaintiff is attempting to raise a retaliation claim under the

Rehabilitation Act, such claim must be dismissed.

       The Rehabilitation Act’s anti-retaliation protections “apply to ‘any individual’ who has

been intimidated, threatened, coerced, or discriminated against ‘for the purpose of interfering

with protected rights’ under Title VI of the Civil Rights Act of the Rehabilitation Act.” Smith v.

The Public Schools of Northborough-Southborough Massachusetts, 133 F. Supp. 3d 289, 294 n.3

(1st Cir. 2015) (internal quotation marks omitted). In order to establish a prima facie claim of

retaliation under the Rehabilitation Act, a plaintiff “must demonstrate that (i) he undertook some

protected conduct, (ii) he suffered an adverse employment action, and (iii) that the two were

causally linked.” Alvarado v. Donahoe, 687 F.3d 453, 458 (1st Cir. 2012).

       In his Complaint, Plaintiff alleges no “protected conduct” under the Rehabilitation Act.

Based on the first sentence of paragraph seventeen, it appears that Plaintiff is alleging that

Defendant “retaliated” against him for having a disability that required a reasonable

accommodation—an act that would be covered by the Rehabilitation Act’s anti-discrimination

provision, not its anti-retaliation provision. In the second sentence of paragraph seventeen,

Plaintiff states that his offer was rescinded “only after he contacted [Defendant] regarding

updates with his employment”—suggesting that Plaintiff may be alleging that the “protected

conduct” may be seeking an update regarding his application. However, simply asking for an

update regarding an application—with nothing more—does not qualify as “protected conduct”

under the Rehabilitation Act, as it is not tied to an assertion of rights under that statute (or any

anti-discrimination statute). Accordingly, Plaintiff has failed to allege in his Complaint that he

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“undertook some protected conduct.” Furthermore, even if any of Plaintiff’s actions could

somehow be viewed as asserting protected conduct, he fails to causally link any such conduct to

an adverse employment action. Alvarado, 687 F.3d at 458. Because Plaintiff has failed to allege

the elements of a prima facie case of retaliation, his claim must be dismissed.

                                     III.    CONCLUSION

       For the foregoing reasons Defendant requests that the Court dismiss the instant action in

its entirety pursuant to Federal Rule of Civil Procedure 12(b)(6).



Dated: September 8, 2021                             Respectfully Submitted,
       Portland, Maine


                                                     DONALD E. CLARK
                                                     ACTING UNITED STATES ATTORNEY


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 8, 2021, I electronically filed the foregoing using the
CM/ECF system which will send notifications of such filing(s) to counsel of record for all
parties.



                                                      /s/ James D. Concannon
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